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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

ANGELA MARTIN,

        Plaintiff,

v.
                                                      Case No. 8:15-cv-2791-T-24 EAJ
SCOTTRADE, INC.,

      Defendant.
________________________/

                                              ORDER

       This cause comes before the Court on a Joint Motion to Transfer the case to the United

States District Court for the Eastern District of Missouri pursuant to 28 U.S.C. § 1404(a). Dkt. 11.

In support of their motion, the parties submit to the Court that transfer is appropriate because (1)

Scottrade’s headquarters and principal place of business is located in the Eastern District of

Missouri; (2) the Eastern District of Missouri is a more convenient forum for the vast majority of

witnesses in this litigation, and (3) there are currently three other related putative class actions

alleging similar claims arising from the same alleged cybersecurity incident pending in the Eastern

District of Missouri.

       The Court has broad discretion to transfer a case pursuant to § 1404(a) if (i) the district to

which the defendant seeks to have the action transferred is one in which the action might have

been brought, (ii) the transfer is for the convenience of parties and witnesses, and (iii) transfer is

in the interest of justice. Central Money Mortg. Co., Inc. v. Holman, 122 F. Supp. 2d 1345, 1347

(M.D. Fla. 2000) (citing 28 U.S.C. § 1404(a)).
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       Accordingly, the Court finds that this case should be transferred to the Eastern District of

Missouri. The Motion to Transfer is GRANTED. The Clerk is directed to transfer this case to

the United States District Court for the Eastern District of Missouri and close the case.

       DONE AND ORDERED at Tampa, Florida, this 26th day of January, 2016.




Copies to:
Counsel of Record




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